 Case 10-60990-wlh                Doc 41        Filed 11/28/12 Entered 11/28/12 08:44:04                             Desc Main
                                               Document      Page 1 of 11

                                           UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF GEORGIA
                                                  ATLANTA DIVISION

              In re: WILBANKS, BOBBY MANALCUS                                                   § Case No. 10-60990-JEM
                     WILBANKS, KIMBERLY ANN                                                     §
                                                                                                §
         Debtor(s)                                                                              §

                                              TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on January 12, 2010. The undersigned trustee was appointed on January 12, 2010.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.

                 4. The trustee realized the gross receipts of                      $                14,371.71

                                    Funds were disbursed in the following amounts:

                                    Payments made under an
                                      interim distribution                                                 0.00
                                    Administrative expenses                                                0.00
                                    Bank service fees                                                    373.70
                                    Other payments to creditors                                            0.00
                                    Non-estate funds paid to 3rd Parties                                   0.00
                                    Exemptions paid to the debtor                                          0.00
                                    Other payments to the debtor                                           0.00
                                    Leaving a balance on hand of 1                  $                13,998.01
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)
 Case 10-60990-wlh                Doc 41        Filed 11/28/12 Entered 11/28/12 08:44:04                    Desc Main
                                               Document      Page 2 of 11




               6. The deadline for filing non-governmental claims in this case was 09/23/2010
       and the deadline for filing governmental claims was 07/11/2010. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $2,187.17. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $2,187.17, for a total compensation of $2,187.17. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $117.73, for total expenses of
               2
       $117.73.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 10/17/2012                    By:/s/Barbara B. Stalzer, Trustee
                                              Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)
            Case 10-60990-wlh                         Doc 41     Filed 11/28/12 Entered 11/28/12 08:44:04                                    Desc Main
                                                                Document      Page 3 of 11
                                                                                                                                                                   Exhibit A


                                                                             Form 1                                                                                Page: 1

                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 10-60990-JEM                                                            Trustee:        (300060)     Barbara B. Stalzer, Trustee
Case Name:        WILBANKS, BOBBY MANALCUS                                           Filed (f) or Converted (c): 01/12/10 (f)
                  WILBANKS, KIMBERLY ANN                                             §341(a) Meeting Date:        02/08/10
Period Ending: 10/17/12                                                              Claims Bar Date:             09/23/10

                                   1                                 2                          3                      4                 5                     6

                    Asset Description                             Petition/            Estimated Net Value          Property        Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)               Unscheduled       (Value Determined By Trustee,    Abandoned        Received by        Administered (FA)/
                                                                   Values            Less Liens, Exemptions,       OA=§554(a)        the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)          DA=§554(c)                          Remaining Assets

 1       943 Lake Stone Lea, Oxford, Ga 5000 sq ft single          500,000.00                           0.00         DA                         0.00                   FA
           Orig. Asset Memo: Imported from original petition
         Doc# 1

 2       4 televisions, furniture: living room and 3 bedr            5,200.00                           0.00         DA                         0.00                   FA
           Orig. Asset Memo: Imported from Amended Doc#:
         16; Original asset description: Opened 3/01/08 Last
         Active 9/23/09 Mortgage 943 Lake Stone Lea Drive
         Oxford, Ga 5000 sq ft single; Imported from Amended
         Doc#: 16; Original asset description: 2002 Sandpiper
         38 foot pull-behind travel traile

 3       500 cds, pictures and books                                     500.00                         0.00         DA                         0.00                   FA
           Orig. Asset Memo: Imported from Amended Doc#:
         16; Original asset description: Opened 3/01/08 Last
         Active 9/23/09 Mortgage 943 Lake Stone Lea Drive
         Oxford, Ga 5000 sq ft single; Imported from Amended
         Doc#: 16; Original asset description: 2002 Sandpiper
         38 foot pull-behind travel traile

 4       Clothing for the family                                     1,000.00                           0.00         DA                         0.00                   FA
           Orig. Asset Memo: Imported from Amended Doc#:
         16; Original asset description: Opened 3/01/08 Last
         Active 9/23/09 Mortgage 943 Lake Stone Lea Drive
         Oxford, Ga 5000 sq ft single; Imported from Amended
         Doc#: 16; Original asset description: 2002 Sandpiper
         38 foot pull-behind travel traile

 5       2008 Tax Refund                                            11,618.00                       4,143.00         DA                         0.00                   FA
           Orig. Asset Memo: Imported from Amended Doc#:
         16; Original asset description: Opened 3/01/08 Last
         Active 9/23/09 Mortgage 943 Lake Stone Lea Drive
         Oxford, Ga 5000 sq ft single; Imported from Amended
         Doc#: 16; Original asset description: 2002 Sandpiper
         38 foot pull-behind travel traile (See Footnote)

 6       2005 Ford Expedition XLJ Mileage: 83000 miles in            9,225.00                           0.00         DA                         0.00                   FA
           Orig. Asset Memo: Imported from original petition
         Doc# 1

 7       2002 Sandpiper 38 foot pull-behind travel traile           17,835.00                       2,823.00         DA                         0.00                   FA
           Orig. Asset Memo: Imported from Amended Doc#:


                                                                                                                                   Printed: 10/17/2012 02:22 PM     V.13.03
             Case 10-60990-wlh                         Doc 41          Filed 11/28/12 Entered 11/28/12 08:44:04                                              Desc Main
                                                                      Document      Page 4 of 11
                                                                                                                                                                                   Exhibit A


                                                                                    Form 1                                                                                         Page: 2

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 10-60990-JEM                                                                    Trustee:         (300060)        Barbara B. Stalzer, Trustee
Case Name:          WILBANKS, BOBBY MANALCUS                                                 Filed (f) or Converted (c): 01/12/10 (f)
                    WILBANKS, KIMBERLY ANN                                                   §341(a) Meeting Date:            02/08/10
Period Ending: 10/17/12                                                                      Claims Bar Date:                 09/23/10

                                 1                                           2                            3                         4                    5                    6

                      Asset Description                                 Petition/             Estimated Net Value                Property          Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)                   Unscheduled        (Value Determined By Trustee,          Abandoned          Received by        Administered (FA)/
                                                                         Values             Less Liens, Exemptions,             OA=§554(a)          the Estate         Gross Value of
Ref. #                                                                                          and Other Costs)                DA=§554(c)                            Remaining Assets

           16; Original asset description: Opened 3/01/08 Last
           Active 9/23/09 Mortgage 943 Lake Stone Lea Drive
           Oxford, Ga 5000 sq ft single

 8         Preferential payment to roofer (u) (See Footnote)                11,000.00                      14,370.79                                     14,370.79                     FA

 Int       INTEREST (u)                                                      Unknown                              N/A                                         0.92                Unknown

 9        Assets      Totals (Excluding unknown values)                  $556,378.00                      $21,336.79                                   $14,371.71                   $0.00


       RE PROP# 5         Debtors used tax refund to pay roofer (preferentially). Debtors are paying estate $500.00 per month
                         pursuant to a compromise and settlement.
       RE PROP# 8         Trustee has received all funds for the preference and is preparing to file the closing package



       Major Activities Affecting Case Closing:

                   Trustee has collected all funds from debtors for the preference paid to the roofer. Trustee will prepare the closing package for submission to the UST.

       Initial Projected Date Of Final Report (TFR):       October 31, 2012                     Current Projected Date Of Final Report (TFR):         October 31, 2012




                                                                                                                                                  Printed: 10/17/2012 02:22 PM      V.13.03
             Case 10-60990-wlh                     Doc 41        Filed 11/28/12 Entered 11/28/12 08:44:04                                            Desc Main
                                                                Document      Page 5 of 11
                                                                                                                                                                              Exhibit B


                                                                                  Form 2                                                                                       Page: 1

                                                 Cash Receipts And Disbursements Record
Case Number:         10-60990-JEM                                                                 Trustee:            Barbara B. Stalzer, Trustee (300060)
Case Name:           WILBANKS, BOBBY MANALCUS                                                     Bank Name:          The Bank of New York Mellon
                     WILBANKS, KIMBERLY ANN                                                       Account:            9200-******06-65 - Checking Account
Taxpayer ID #: **-***0748                                                                         Blanket Bond:       $83,330,000.00 (per case limit)
Period Ending: 10/17/12                                                                           Separate Bond: N/A

   1            2                         3                                         4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                T-Code              $                   $       Account Balance
06/23/10       {8}       Bobby M. Wilbanks                Acct #1; Payment #0; Per agreement with            1249-000              1,000.00                                   1,000.00
                                                          Debtor to repay money to roofer paid
                                                          preferentially
07/22/10       {8}       Bobby and Kimberly Wilbanks      Installment payment for preferential payment to 1249-000                    500.00                                  1,500.00
                                                          roofer
07/30/10       Int       The Bank of New York Mellon      Interest posting at 0.0700%                        1270-000                   0.07                                  1,500.07
08/19/10       {8}       Bobby and Kimberly Wilbanks      Acct #1; Payment #1; Installment payment for       1249-000                 500.00                                  2,000.07
                                                          preference payment to roofer
08/31/10       Int       The Bank of New York Mellon      Interest posting at 0.0700%                        1270-000                   0.09                                  2,000.16
09/22/10       {8}       Bobby M. and Kimberly wilbanks   Acct #1; Payment #2; Installment per               1249-000                 500.00                                  2,500.16
                                                          agreement with Debtor
09/30/10       Int       The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                   0.01                                  2,500.17
10/20/10       {8}       Kimberly Wilbanks                Acct #1; Payment #3; Installment payment on        1249-000                 500.00                                  3,000.17
                                                          preference payment to roofer per agreement
10/29/10       Int       The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                   0.02                                  3,000.19
11/22/10       {8}       Kimberly A. Wilbanks             Acct #1; Payment #4; Monthly Installment           1249-000                 500.00                                  3,500.19
                                                          payment per agreement and court order
11/30/10       Int       The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                   0.02                                  3,500.21
12/17/10       {8}       Bobby M. wilbanks                Acct #1; Payment #5; Installment payment on        1249-000                 500.00                                  4,000.21
                                                          preferential transfer to roofing co.
12/31/10       Int       The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                   0.02                                  4,000.23
01/21/11       {8}       Kimberly Wilbanks                Acct #1; Payment #6; Installment payment on        1249-000                 500.00                                  4,500.23
                                                          preference to roofer
01/31/11       Int       The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                   0.02                                  4,500.25
02/24/11       {8}       Kimberly A. Wilbanks             Acct #1; Payment #7; Monthly installment for       1249-000                 500.00                                  5,000.25
                                                          money paid preferentially to roofer
02/28/11       Int       The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                   0.03                                  5,000.28
03/23/11       {8}       Kimberly Wilbanks                Acct #1; Payment #8; Montly installment on         1249-000                 500.00                                  5,500.28
                                                          preference to roofer
03/31/11       Int       The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                   0.04                                  5,500.32
04/21/11       {8}       Bobby Wilbanks                   Acct #1; Payment #9; INstallment payment on        1249-000                 500.00                                  6,000.32
                                                          preference to roofer
04/29/11       Int       The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                   0.04                                  6,000.36
05/20/11       {8}       Kimberly Wilbanks                Acct #1; Payment #10; Monthly installment on       1249-000                 500.00                                  6,500.36
                                                          roofer preference payment
05/31/11       Int       The Bank of New York Mellon      Interest posting at 0.0100%                        1270-000                   0.05                                  6,500.41
06/20/11       {8}       Kimberly A. Wilbanks             Acct #1; Payment #11; Monthly installmentn on 1249-000                      500.00                                  7,000.41
                                                          preference payment to roofer

                                                                                                  Subtotals :                     $7,000.41                 $0.00
{} Asset reference(s)                                                                                                                      Printed: 10/17/2012 02:22 PM        V.13.03
             Case 10-60990-wlh                     Doc 41    Filed 11/28/12 Entered 11/28/12 08:44:04                                              Desc Main
                                                            Document      Page 6 of 11
                                                                                                                                                                            Exhibit B


                                                                              Form 2                                                                                         Page: 2

                                                 Cash Receipts And Disbursements Record
Case Number:         10-60990-JEM                                                               Trustee:            Barbara B. Stalzer, Trustee (300060)
Case Name:           WILBANKS, BOBBY MANALCUS                                                   Bank Name:          The Bank of New York Mellon
                     WILBANKS, KIMBERLY ANN                                                     Account:            9200-******06-65 - Checking Account
Taxpayer ID #: **-***0748                                                                       Blanket Bond:       $83,330,000.00 (per case limit)
Period Ending: 10/17/12                                                                         Separate Bond: N/A

   1            2                         3                                    4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction                 T-Code              $                   $       Account Balance
06/30/11       Int       The Bank of New York Mellon   Interest posting at 0.0100%                         1270-000                   0.05                                  7,000.46
07/18/11       {8}       Kimberly Wilbanks             Acct #1; Payment #12; Monthly installment on        1249-000                 500.00                                  7,500.46
                                                       preference payment to roofer
07/29/11       Int       The Bank of New York Mellon   Interest posting at 0.0100%                         1270-000                   0.06                                  7,500.52
08/01/11                 The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                         13.77           7,486.75
08/17/11       {8}       Kimberly Wilbanks             Acct #1; Payment #13; Installment payment on        1249-000                 500.00                                  7,986.75
                                                       preference to roofer
08/31/11       Int       The Bank of New York Mellon   Interest posting at 0.0100%                         1270-000                   0.06                                  7,986.81
08/31/11                 The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                         25.00           7,961.81
09/15/11       {8}       Kimberly Wilbanks             Acct #1; Payment #14; Monthly installment           1249-000                 500.00                                  8,461.81
                                                       payment
09/30/11       Int       The Bank of New York Mellon   Interest posting at 0.0100%                         1270-000                   0.06                                  8,461.87
09/30/11                 The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                         25.00           8,436.87
10/17/11       {8}       Kimberly Wilbanks             Acct #1; Payment #15; Installment payment for       1249-000                 500.00                                  8,936.87
                                                       preference to roofer
10/31/11       Int       The Bank of New York Mellon   Interest posting at 0.0100%                         1270-000                   0.06                                  8,936.93
10/31/11                 The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                         25.00           8,911.93
11/21/11       {8}       Kimberly Wilbanks             Acct #1; Payment #16; Monthly installment on        1249-000                 500.00                                  9,411.93
                                                       preference to roofer
11/30/11       Int       The Bank of New York Mellon   Interest posting at 0.0100%                         1270-000                   0.07                                  9,412.00
11/30/11                 The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                         25.00           9,387.00
12/21/11       {8}       Bobby and Kimberly Wilbanks   Acct #1; Payment #17; installment payment on        1249-000                 500.00                                  9,887.00
                                                       preference to roofer
12/30/11       Int       The Bank of New York Mellon   Interest posting at 0.0100%                         1270-000                   0.07                                  9,887.07
12/30/11                 The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                         25.00           9,862.07
01/06/12       {8}       Kimberly Wilbanks             Acct #1; Payment #18; Installment payment on        1249-000                 500.00                              10,362.07
                                                       preference to roofer paid out of tax refund
01/17/12       Int       The Bank of New York Mellon   Interest posting at 0.0100%                         1270-000                   0.04                              10,362.11
01/31/12       Int       The Bank of New York Mellon   Interest posting at 0.0100%                         1270-000                   0.04                              10,362.15
01/31/12                 The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                         25.00       10,337.15
02/22/12       {8}       Bobby Wilbanks                Acct #1; Payment #19; Montly installment            1249-000                 500.00                              10,837.15
                                                       payment to pay off preference payment to
                                                       roofer
02/29/12                 The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                         25.00       10,812.15
03/09/12       {8}       Kimberly Wilbanks             Acct #1; Payment #20; Monthly installment to        1249-000                 500.00                              11,312.15
                                                       pay preference to roofer
03/30/12                 The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                         25.00       11,287.15
04/25/12       {8}       Kimberly Wilbanks             Acct #1; Payment #21; Montly installment to         1249-000                 500.00                              11,787.15
                                                                                                 Subtotals :                    $5,000.51                 $213.77
{} Asset reference(s)                                                                                                                    Printed: 10/17/2012 02:22 PM        V.13.03
             Case 10-60990-wlh                       Doc 41         Filed 11/28/12 Entered 11/28/12 08:44:04                                             Desc Main
                                                                   Document      Page 7 of 11
                                                                                                                                                                                  Exhibit B


                                                                                     Form 2                                                                                       Page: 3

                                                    Cash Receipts And Disbursements Record
Case Number:         10-60990-JEM                                                                     Trustee:            Barbara B. Stalzer, Trustee (300060)
Case Name:           WILBANKS, BOBBY MANALCUS                                                         Bank Name:          The Bank of New York Mellon
                     WILBANKS, KIMBERLY ANN                                                           Account:            9200-******06-65 - Checking Account
Taxpayer ID #: **-***0748                                                                             Blanket Bond:       $83,330,000.00 (per case limit)
Period Ending: 10/17/12                                                                               Separate Bond: N/A

   1            2                            3                                         4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                  T-Code              $                   $       Account Balance
                                                             pay roofer preference
04/30/12                 The Bank of New York Mellon         Bank and Technology Services Fee                    2600-000                                         25.00       11,762.15
05/31/12       {8}       Bobby M. Wilbanks                   Acct #1; Payment #22; For monthly payment           1249-000                 500.00                              12,262.15
                                                             for roofer preference
05/31/12                 The Bank of New York Mellon         Bank and Technology Services Fee                    2600-000                                         26.51       12,235.64
06/11/12       {8}       Bobby Wilbanks                      Acct #1; Payment #23; Payment for preference        1249-000                 500.00                              12,735.64
                                                             to roofer
06/29/12                 The Bank of New York Mellon         Bank and Technology Services Fee                    2600-000                                         25.00       12,710.64
07/15/12       {8}       Bobby Wilbanks                      Acct #1; Payment #24; Roofer preference--           1249-000                 500.00                              13,210.64
                                                             monthly installment
07/31/12                 The Bank of New York Mellon         Bank and Technology Services Fee                    2600-000                                         28.25       13,182.39
08/08/12       {8}       Kimberly Wilbanks                   Acct #1; Payment #25; Monthly installment on        1249-000                 500.00                              13,682.39
                                                             repayment of preference to roofer
08/31/12                 The Bank of New York Mellon         Bank and Technology Services Fee                    2600-000                                         28.66       13,653.73
09/11/12       {8}       Bobby Wilbanks                      Acct #1; Payment #26; Payoff of roofer              1249-000                 370.79                              14,024.52
                                                             preference claim by Debtors
09/28/12                 The Bank of New York Mellon         Bank and Technology Services Fee                    2600-000                                         26.51       13,998.01

                                                                                     ACCOUNT TOTALS                                   14,371.71                  373.70   $13,998.01
                                                                                            Less: Bank Transfers                            0.00                   0.00
                                                                                     Subtotal                                         14,371.71                  373.70
                                                                                            Less: Payments to Debtors                                              0.00
                                                                                     NET Receipts / Disbursements                   $14,371.71                  $373.70

                               Net Receipts :          14,371.71
                                                   ————————                                                                             Net              Net                  Account
                                    Net Estate :      $14,371.71                     TOTAL - ALL ACCOUNTS                             Receipts      Disbursements             Balances

                                                                                     Checking # 9200-******06-65                      14,371.71                  373.70       13,998.01

                                                                                                                                    $14,371.71                  $373.70   $13,998.01




{} Asset reference(s)                                                                                                                          Printed: 10/17/2012 02:22 PM        V.13.03
         Case 10-60990-wlh            Doc 41     Filed 11/28/12 Entered 11/28/12 08:44:04     Desc Main
 Printed: 10/17/12 02:23 PM                     Document      Page 8 of 11                                 Page: 1

                                                           Exhibit C
                            Case: 10-60990-JEM               WILBANKS, BOBBY MANALCUS
                                                                                             Claims Bar Date:    09/23/10
 Claim   Claimant Name /                       Claim Type/    Claim Ref./   Amount Filed/       Paid              Claim
Number   <Category>, Priority                  Date Filed     Notes             Allowed        to Date           Balance
 1       Georgia's Own Credit Union            Unsecured                        $10,974.88        $0.00          $10,974.88
         P.O. Box 105205                       06/30/10                         $10,974.88
         Atlanta, GA 30348
         <7100-00 General Unsecured § 726(a)(2)>, 610
 2       Wells Fargo Bank, N.A.                Unsecured                       $435,753.49        $0.00         $435,753.49
         c/o Smith, Gambrell & Russell, LLP,   07/13/10                        $435,753.49
         Atlanta, GA 30309
         <7100-00 General Unsecured § 726(a)(2)>, 610
 3       BB&T-Bankruptcy                       Unsecured                        $60,596.06        $0.00          $60,596.06
         100-50-01-51                          08/11/10                         $60,596.06
         PO Box 1847
         Wilson, NC 27894-1847
         <7100-00 General Unsecured § 726(a)(2)>, 610
 4       Chase Bank USA,N.A                    Unsecured                         $1,293.25        $0.00           $1,293.25
         c/o Creditors Bankruptcy Service      08/12/10                          $1,293.25
         P O Box 740933
         Dallas, TX 75374
         <7100-00 General Unsecured § 726(a)(2)>, 610
 5       GE Money Bank                         Unsecured                         $1,614.51        $0.00           $1,614.51
         c/o Recovery Management Systems       08/24/10                          $1,614.51
         Corporat
         25 SE 2nd Ave Suite 1120
         Miami, FL 33131-1605
         <7100-00 General Unsecured § 726(a)(2)>, 610
 6       Fia Card Services, NA/Bank of America Unsecured                        $11,955.14        $0.00          $11,955.14
         by American Infosource Lp As Its Agent 09/22/10                        $11,955.14
         PO Box 248809
         Oklahoma City, OK 73124-8809
         <7100-00 General Unsecured § 726(a)(2)>, 610

                                                                             Case Total:         $0.00          $522,187.33
    Case 10-60990-wlh          Doc 41      Filed 11/28/12 Entered 11/28/12 08:44:04                   Desc Main
                                          Document      Page 9 of 11
                                 TRUSTEE'S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

            Case No.: 10-60990-JEM
            Case Name: WILBANKS, BOBBY MANALCUS
            Trustee Name: Barbara B. Stalzer, Trustee
                                                  Balance on hand:                         $           13,998.01
              Claims of secured creditors will be paid as follows:

 Claim        Claimant                                Claim Allowed Amount Interim Payments              Proposed
 No.                                                Asserted       of Claim          to Date             Payment
                                                        None
                                                  Total to be paid to secured creditors:   $                0.00
                                                  Remaining balance:                       $           13,998.01

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
Trustee, Fees - Barbara B. Stalzer, Trustee                            2,187.17                0.00       2,187.17
Trustee, Expenses - Barbara B. Stalzer, Trustee                          117.73                0.00         117.73
Attorney for Trustee, Fees - Barbara B. Stalzer, Esq.                    767.00                0.00         767.00
Accountant for Trustee, Fees - Stonebridge Accounting                    652.00                0.00         652.00
Strategies
Accountant for Trustee, Expenses - Stonebridge                             32.75               0.00          32.75
Accounting Strategies
                            Total to be paid for chapter 7 administration expenses:        $            3,756.65
                            Remaining balance:                                             $           10,241.36

              Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
                                                        None
                            Total to be paid for prior chapter administrative expenses:    $                0.00
                            Remaining balance:                                             $           10,241.36




   UST Form 101-7-TFR (05/1/2011)
  Case 10-60990-wlh             Doc 41     Filed 11/28/12 Entered 11/28/12 08:44:04                    Desc Main
                                          Document      Page 10 of 11
             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
                                                        None
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $           10,241.36
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 522,187.33 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 2.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
  1            Georgia's Own Credit Union                             10,974.88                 0.00         215.25
  2            Wells Fargo Bank, N.A.                               435,753.49                  0.00       8,546.18
  3            BB&T-Bankruptcy                                        60,596.06                 0.00       1,188.44
  4            Chase Bank USA,N.A                                      1,293.25                 0.00          25.36
  5            GE Money Bank                                           1,614.51                 0.00          31.66
  6            Fia Card Services, NA/Bank of America                  11,955.14                 0.00         234.47
                             Total to be paid for timely general unsecured claims:          $           10,241.36
                             Remaining balance:                                             $                0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
                                                       None
                             Total to be paid for tardy general unsecured claims:           $                0.00
                             Remaining balance:                                             $                0.00




  UST Form 101-7-TFR (05/1/2011)
  Case 10-60990-wlh            Doc 41     Filed 11/28/12 Entered 11/28/12 08:44:04                 Desc Main
                                         Document      Page 11 of 11
             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments          Proposed
No                                                                   of Claim          to Date         Payment
                                                       None
                                                Total to be paid for subordinated claims: $                0.00
                                                Remaining balance:                        $                0.00




  UST Form 101-7-TFR (05/1/2011)
